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                           UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF TEXAS

                                    DALLAS DIVISION


NANCY G. MALONEY, Derivatively on       § Civil Action No. 3:18-cv-01980-G
Behalf of FORTERRA, INC.,               §
                                        §
                        Plaintiff,      §
                                        §
      vs.                               §
                                        §
JEFFREY K. BRADLEY, W. MATTHEW          §
BROWN, LORI M. BROWNE, WILLIAM          §
KERFIN, KYLE S. VOLLUZ, KEVIN           §
BARNER, ROBERT CORCORAN, SAMUEL §
D. LOUGHLIN, CLINT McDONNOUGH,          §
JOHN McPHERSON, CHRIS MEYER,            §
JACQUES SARRAZIN, CHADWICK S.           §
SUSS and GRANT WILBECK,                 §
                                          ORAL ARGUMENT REQUESTED
                                        §
                        Defendants,
                                        §
      – and –                           §
                                        §
FORTERRA, INC., a Delaware corporation, §
                                        §
                  Nominal Defendant.    §
                                        §


   OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS FOR FORUM NON
 CONVENIENS, FAILURE TO MAKE A PRE-SUIT DEMAND PURSUANT TO RULE
    23.1, AND FAILURE TO STATE A CLAIM PURSUANT TO RULE 12(B)(6)

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                                        INTRODUCTION

       Plaintiff Nancy G. Maloney (“Plaintiff”), responds to the Motion to Dismiss for Forum Non

Conveniens, Failure to Make a Pre-suit Demand Pursuant to Rule 23.1, and Failure to State a Claim

Pursuant to Rule 12(b)(6) (the “Motion,” ECF No. 19) filed by nominal party Forterra, Inc.

(“Forterra” or the “Company”) and its officers and directors named as “Defendants” as follows. 1

       First, as to the Forum Selection Clause (“FSC”) in Forterra’s Certificate of Incorporation,

Defendant’s own authority provides that dismissal is improper. Even if the FSC did apply,

enforcement would have required that this Court analyze whether to transfer this action, brought

properly in this District under its diversity jurisdiction, to the District of Delaware under 28 U.S.C.

§1404(a), not whether to dismiss it. Cognizant that such transfer would be improper because the

relevant documents, witnesses and evidence remain in this District where there is also a related

securities class action proceeding to trial, as Defendants themselves have argued repeatedly in

federal court proceedings, Defendants improperly seek a dismissal instead. See Ex. B (App. at pp.

35-42) (“Venue in the Northern District of Texas is proper” over related claims “because a

substantial part of the events or omissions giving rise to the claim occurred” there, “Forterra’s

headquarters are there,” and “defendants are subject to personal jurisdiction there”).2

       Second, contrary to Defendants’ arguments, demand upon the Forterra Board, as of the date

of the filing of this action, would have been futile. When a shareholder challenges a decision of the

1
   As detailed in Plaintiff’s Verified Shareholder Derivative Complaint for Breach of Fiduciary
Duty, Constructive Fraud, Corporate Waste and Unjust Enrichment (ECF. No. 1, “Complaint,” at
¶¶9-22), “Defendants” include Jeffrey K. Bradley (“Bradley”), W. Matthew Brown (“Brown”), Lori
M. Browne (“Browne”), William Kerfin (“Kerfin”), Kyle S. Volluz (“Volluz”), Kevin Barner
(“Barner”), Robert Corcoran (“Corcoran”), Samuel D. Loughlin (“Loughlin”), Clint McDonnough
(“McDonnough”), John McPherson (“McPherson”), Chris Meyer (“Meyer”), Chadwick S. Suss
(“Suss”) and Grant Wilbeck (“Wilbeck”). All “¶_” references are to the Complaint.
2
   Plaintiff submits herewith seven exhibits in support of her oppositions to Defendants’ motions to
dismiss. As detailed herein, as each is a matter of public record, whether filed with the SEC or
another court, the Court can take judicial notice of them.
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board of directors of a Delaware corporation such as Forterra, a court must determine whether a

reasonable doubt has been raised as to: (i) disinterestedness and independence of a majority of the

members of the board of directors; or (ii) as to whether the challenged transaction was otherwise the

product of a valid exercise of business judgment. This two-pronged approach is disjunctive,

meaning that if either prong is satisfied, demand is excused. Here, the Complaint focuses on the

conglomeration of several disparate businesses by Forterra’s controlling shareholder, Lone Star Fund

IX (U.S.), L.P. (along with its related entities, “Lone Star”), and its associate Hudson Advisors L.P.

(along with its related entities, “Hudson”); their failure to effectively integrate those disparate

businesses; their straddling of those disparate businesses – now called Forterra – with an

insurmountable debt load; and their failure to put in place effective accounting practices or reporting

controls, resulting in Forterra publishing falsified financial statements during fiscal 2017 that have

now exposed it to millions of dollars in potential liability to investors and regulators. Defendants’

contention that it does not matter that a majority of Forterra’s ten directors are also long-term

executives of Lone Star and/or Hudson (or both), which directed the misconduct, can be rejected.

Tellingly, Defendants fail to address the Complaint’s allegation that they themselves admitted in a

filing they caused Forterra to make with the Securities and Exchange Commission (“SEC”) that

“directors who . . . are employed by affiliates or related parties of Lone Star” are per force not

independent. Defendants even claim that Defendant Bradley, Forterra’s Chief Executive Officer

(“CEO”), who signed all of the falsified financial reports and, along with a majority of the Board,

and is a defendant in the related Forterra securities fraud class action pending in this District, i.e. In

re Forterra Inc. Sec. Litig., N.D. Tex. No. 3:18-cv-01957-K (the “Fed. Sec. Action”), somehow

could have “impartially considered a [presuit] demand.” They are wrong. Demand was futile.

Accordingly, Defendants’ Motion should be denied.




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        RELEVANT FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       In March 2015, controlling shareholder Lone Star purchased the Company’s predecessor

from HeidelbergCement AG in a highly leveraged buyout. ¶35. Before selling the Company to

Lone Star, HeidelbergCement AG had unsuccessfully attempted to conduct an IPO to raise capital to

pay down the Company’s already high debt load. Id. Upon acquiring the assets, Lone Star stripped

off all but the business of manufacturing pipe and precast products, and renamed the remaining

entity Forterra. ¶¶34-43. Lone Star, a global investment firm with interests in all sorts of other

industrial companies, then caused Forterra to make a series of disparate acquisitions of companies

with far different business models and accounting practices. ¶39. To make all of these acquisitions,

Lone Star loaded Forterra up with even more debt, tripling the debt it had when acquired from

HeidelbergCement AG. ¶42.

       Following the October 2016 IPO Lone Star caused Forterra to undertake, Defendants

admitted in Forterra’s SEC filings that due to Lone Star’s continued 70% equity stake in Forterra, it

remained a “controlled company” and as such was not required to “have a majority of independent

directors on its board of directors.” ¶43. Forterra’s 2018 Annual Proxy Statement also “concedes

that ‘directors who . . . are employed by affiliates or related parties of Lone Star’ are not

independent.” ¶69(a). Indeed, as detailed at ¶¶13-22, 66 and 69, of the ten directors composing the

Board at the time this suit was commenced, “a majority” were then “employed by Lone Star” and/or

Hudson, including Defendants Meyer, Volluz and Corcoran, and non-party Forterra Board Members

Richard “Chip” Cammerer, Jr. (“Cammerer”), Dominic LaValle (“LaValle”) and Chad Lewis

(“Lewis”).

       The Complaint alleges that between March 2017 and August 2017 (the “Relevant Period”),

Defendants caused Forterra to materially overstate its publicly reported financial results in violation

of Generally Accepted Accounting Principles (“GAAP”); make other materially false and misleading


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statements and omissions; facilitate the false financial reporting by operating without effective

internal controls; file false and misleading statements with the SEC; and permit certain of its current

and former executives to profit from this misconduct by pegging the payment of their cash bonuses

to falsely reporting otherwise unattainable quarterly and annual financial targets. ¶¶1, 44-52.

       The Complaint alleges that Defendants’ misconduct and self-dealing has resulted or

threatened to result in hundreds of millions of dollars of damages to Forterra. ¶¶2, 62-66. It further

alleges that the Company’s senior executives were incentivized to issue materially false and

misleading financial reports and statements to justify paying themselves outsized cash bonuses. ¶¶1-

2, 64, 69(j), 85. As a result of Defendants’ misconduct, the Company has been named as a primary

defendant in a costly and expensive class action lawsuit for violations of the federal securities laws.

¶¶2, 62, 69(g), (l). Forterra has also been named as a defendant in a whistleblower retaliation

lawsuit brought by a former senior executive expressly accusing it of intentionally falsifying its

financial reports, which will make the securities claims harder for Forterra to defend. ¶¶2, 69(d) and

(g).

       By causing or permitting the accounting misstatements, Defendants: (i) caused Forterra to

issue materially false and misleading financial reports and to file materially false and misleading

financial statements with the SEC; (ii) deprived Forterra’s shareholder owners of their right to vote

at the 2017 annual general meeting of shareholders (“AGM”) based on accurate and complete

reports of the Company’s actual financial performance; (iii) exposed Forterra to millions of dollars

in potential liability to its investors, civil litigants and regulators; and (iv) caused Forterra to

improperly pay excessive severance payments to a departing executive by permitting him to resign

instead of being fired for cause. ¶¶1, 3, 44-52, 57, 62-66, 69(f), (h), 82, 86.

       On May 15, 2017, Defendants caused Forterra to disclose that its previously-issued financial

reports for the quarter ended March 31, 2017 contained millions of dollars in accounting

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improprieties, the correction of which revealed that the Company “had achieved no organic growth

during the quarter,” and that there were additional defects in Forterra’s internal controls. ¶¶55-56.

In May 2017, Executive Vice President and Chief Operating Officer, Scott Leonard, suddenly and

without explanation resigned; followed soon in July 2017 by former Chairman of the Board,

Defendant Loughlin; Defendant Brown in September 2017; and former board members Defendants

Barner, Wilbeck and Suss suddenly in March/April 2018. ¶¶53, 58, 63, 66. On August 10, 2017 and

again on March 7, 2018, Defendants caused Forterra to admit to even more defects in its internal

controls, and that the Company had again achieved “no organic growth” in the quarter ended June

30, 2017. ¶¶59-60, 65.

       Meanwhile, on February 21, 2018, Raymond Vuoncino (“Vuoncino”), the former Vice

President of Operations of Forterra’s wholly-owned U.S. Pipe Fabrication subsidiary, filed a detailed

whistleblower lawsuit in the District of New Jersey, alleging violations of the Dodd-Frank Wall

Street Reform and Consumer Protection Act of 2010, 15 U.S.C. §78u-6 et seq., and the Sarbanes-

Oxley Act of 2002, 18 U.S.C. §1514A et seq. against Forterra and Defendants Bradley and Kerfin.

¶64. According to Mr. Vuoncino, in connection with calculating Forterra’s 4Q16 and FY16

financial results reported on March 29, 2017, Defendants caused Forterra to overstate U.S. Pipe’s

4Q16 and FY16 reported profits by causing one Pipe and Precasting division to order product from

another Pipe and Precasting division at the end of the quarter, paid for by an intra-division “rebate”

that was not properly accounted for, to build excess inventory “just to report additional profits in

order to meet” otherwise unattainable “projected and monthly quarterly” sales goals. Id. Mr.

Vuoncino further alleged that Defendants had begun paying themselves cash bonuses on those

falsified results “on a monthly basis with eighty percent (80%) of the bonus amount calculated on

performance versus financial goals.” Id. Mr. Vuoncino’s action is ongoing. See Vuoncino v.

Forterra, Inc., et al., No. 18-cv-02437 (D.N.J. Feb. 21, 2018).

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         On July 31, 2018, Plaintiff filed this shareholder derivative action against Forterra’s faithless

fiduciaries. ¶¶4, 69-70. In the Complaint, Plaintiff alleges that during the Relevant Period,

Defendants caused Forterra to materially overstate its publicly reported financial results in violation

of GAAP; make other materially false and misleading statements and omissions; facilitate the false

financial reporting by operating without effective internal controls; file false and misleading

statements with the SEC; and permit certain of its current and former executives to profit from this

misconduct by pegging the payment of their cash bonuses to falsely reporting otherwise unattainable

quarterly and annual financial targets.3 ¶¶1, 44-52.

                                            ARGUMENTS

I.       THE FORUM SELECTION CLAUSE IS NOT ENFORCEABLE

         Defendants’ opening argument is that “[i]n Atlantic Marine Construction Co. v. United States

District Court for Western District of Texas, 571 U.S. 49, 60 (2013) [“Atlantic Marine”], the U.S.

Supreme Court held that a contractual forum-selection clause should be given ‘controlling weight in

all but the most exceptional cases,’ and that ‘the appropriate way to enforce a forum-selection clause

pointing to a state or foreign forum is through the doctrine of forum non conveniens,’” and that

“[b]ecause the forum-selection clause here requires adjudication in a Delaware court, the Complaint

should be dismissed under the doctrine of forum non conveniens.” Mot. at 2. They are wrong.

Atlantic Marine negates the very relief sought here: dismissal. See 571 U.S. at 54 (dismissal is

proper “only when venue is ‘wrong’ or ‘improper’”). Venue is proper in this District because this is

where “a substantial part of the events or omissions giving rise to the claim occurred.” Id. at 55

(citing § 1391(a)(2)). To be sure, “[w]hether venue is ‘wrong’ or ‘improper’ depends exclusively on

whether the court in which the case was brought satisfies the requirements of federal venue laws, and



3
   Defendants’ claim that Plaintiff lacks standing due to the contemporaneous ownership
requirement is addressed in her Opposition to Defendant Kerfin’s Motion to Dismiss filed herewith.

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those provisions say nothing about a forum-selection clause.” Id. at 56. Instead, the Supreme Court

in Atlantic Marine determined that FSCs be enforced – if at all – through motions to transfer brought

under 28 U.S.C. § 1404(a), which provides that “[f]or the convenience of parties and witnesses, in

the interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought or to any district or division to which all parties have consented.”

Id. at 54-61. As detailed below at §II.C, all relevant §1404(a) factors militate against transferring

this action and Defendants cannot show not otherwise.

        Instead, attempting to avoid Atlantic Marine’s mandate altogether, Defendants cited to the

Firth Circuit’s decision in Weber v. PACT XPP Techs., AG, 811 F.3d 758, 768 (5th Cir. 2016) where

a forum non conveniens dismissal was granted. But Weber is inapposite because there, the court’s

choice of forums was between the Western District of Texas and Germany – and it could not transfer

the case to Germany under §1404(a) or any other statute.4

        When Atlantic Marine’s mandate is applied, Defendants’ forum non conveniens argument

fails. First, while §1404(a) governs transfers within the federal court system, even where a FSC

provides only a state forum, the clause is still enforced through the doctrine of forum non

conveniens. See Atlantic Marine, 571 U.S. at 61 (“because both §1404(a) and the forum non

conveniens doctrine from which it derives entail the same balancing-of-interests standard, courts

should evaluate a forum-selection clause pointing to a nonfederal forum in the same way that they


4
     Notwithstanding Defendants’ citation to non-binding trial court orders from outside of this
District (Mot. at p. 8, n. 8), in the Fifth Circuit, “[t]he appropriate way to enforce a forum selection
clause pointing to another federal forum is through a motion to transfer venue pursuant to 28 U.S.C.
§1404(a),” as “in such cases, Congress has replaced the traditional remedy of outright dismissal with
transfer.” Butorin on behalf of KBR Inc. v. Blount, 106 F. Supp. 3d 833, 836 (S.D. Tex. 2015). The
trial court order in In re Plains All Am. Derivative Litig., No. CV H-15-3632, 2016 WL 6634929
(S.D. Tex. Nov. 8, 2016) is distinguishable, because there “the spill giving rise to th[e] suit happened
in California” and not Texas. Id. at *5. Here, by contrast, Forterra’s accounting misstatements and
other false financial reporting occurred at its Texas headquarters and the FSC is anything but
unambiguous as it was there.

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evaluate a forum-selection clause pointing to a federal forum.”).5 Significantly, the FSC at issue

here provided only for a jurisdictionally appropriate state or federal forum by its own terms:

        Unless the Corporation consents in writing to the selection of an alternative forum, to
        the fullest extent permitted by law, and subject to applicable jurisdictional
        requirements, the sole and exclusive forum for any stockholder . . . to bring internal
        corporate claims (as defined below) shall be a state court located within the State of
        Delaware (or, if no state court located within the State of Delaware has jurisdiction,
        the Dist. of Del.). For purposes of this Article XIII, “internal corporate claims”
        means claims, including claims in the right of the Corporation: (a) that are based
        upon a violation of a duty by a current or former director, officer, employee or
        stockholder in such capacity, or (b) as to which the DGCL confers jurisdiction upon
        the Court of Chancery. If any action the subject matter of which is within the scope
        of this Article XIII is filed in a court other than a state court located within the State
        of Delaware (or, if no state court located within the State of Delaware has
        jurisdiction, the federal district court for the District of Delaware) (a “Foreign
        Action”) by any stockholder (including any beneficial owner), such stockholder shall
        be deemed to have consented to: (a) the personal jurisdiction of the state and federal
        courts located within the State of Delaware in connection with any action brought in
        any such court to enforce this Article XIII and (b) having service of process made
        upon such stockholder in any such action by service upon such stockholder’s counsel
        in the Foreign Action as agent for such stockholder.

See Ex. 1 to Defendants’ Motion (ECF No. 20 at 11). Plaintiff, as the “master of [her] complaint”

selected a federal court forum and at least one Defendant has conceded her diversity jurisdiction

allegations are valid. See Ex. A at 3-4. At worst, enforcement of the FSC would have mandated a

transfer to the District of Delaware under 28 U.S.C. §1404(a), not a dismissal, and that is presuming




5
    In a tacit recognition that dismissal under Rule 12(b)(3) would be improper, Defendants
“alternatively move to enforce the [FSC] under Rule 12(b)(6).” See Mot. at p. 8, n. 9. Defendants,
however, erroneously claim that “[w]hile Atlantic Marine confirms that forum non conveniens is an
appropriate mechanism for enforcing clauses designating nonfederal forums, the Court left open
whether dismissal under Rule 12(b)(6) is also appropriate.” Id. This is incorrect. Atlantic Marine
held that “[e]ven if a defendant could use Rule 12(b)(6) to enforce a forum-selection clause, that
would not change our conclusion[] that . . . §1404(a) and the forum non conveniens doctrine provide
appropriate enforcement mechanisms” and that “a motion under Rule 12(b)(6), unlike a motion
under §1404(a) or the forum non conveniens doctrine, may [necessitate] a jury trial on venue if
issues of material fact relating to the validity of the forum-selection clause arise.” 571 U.S. at 62 and
n.4. Here, Plaintiff can show that the FSC is anything but unambiguous on its face and that
Defendants are overreaching by seeking dismissal of this action.

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the §1404(a) factors warranted transfer, though Defendants admit they do not. See Ex. B –

Defendants’ motion to transfer the Vuoncino action here. App. at 35-42.

        A.     Having Successfully Argued for Texas as the Proper Forum,
               Defendants Cannot Now Stand on the FSC to the Detriment of
               Plaintiff’s Interst in Prosecuting These Claims Here

        It is well settled that, when faced with a forum non conveniens motion, a court should grant

deference to a plaintiff’s choice of forum. See Piper Aircraft Co. v. Reyno, et al., 454 U.S. 235, 241,

265-266 (1982) (there is “ordinarily a strong presumption in favor of the plaintiff’s choice of forum”

and plaintiff’s choice “should rarely be disturbed”). “As a general matter, a plaintiff is master of its

complaint, and may prosecute a matter in any forum in which the jurisdiction and venue

requirements are met.”6Triple M Hous. Ltd. v. Biomass Combustion Sys. Inc., No. CV 09-40188-

FDS, 2010 WL 11579369, at *1 (D. Mass. May 20, 2010); In re Enron Corp. Sec., Derivative &

“ERISA Litig.”, 258 F.Supp.2d 576, 650 n.32 (S.D. Tex. 2003) (“plaintiff is the master of its

complaint”). While, forum non conveniens determinations are “committed to the sound discretion of

the trial court . . . [and] may be reversed only when there has been a clear abuse of discretion,”

(Reyno, 454 U.S. at 257), federal courts deny forum non convenience findings unless the plaintiff’s

chosen forum would “establish . . . oppressiveness and vexation to a defendant . . . out of all

proportion to plaintiff’s convenience,” or where the “chosen forum [is] inappropriate because of

considerations affecting the court’s own administrative and legal problems.” Koster, 330 U.S. at

6
     While the Supreme Court has counseled courts should afford lesser deference to a plaintiff’s
choice of forum in derivative actions (see Koster v. (Am.) Lumbermens Mut. Cas. Co., 330 U.S. 518,
524-25 (1947)), “[o]bviously, this does not mean that a plaintiff’s choice of forum deserves no
deference.” Quixtar Inc. v. Signature Mgmt. Team, LLC, 315 S.W.3d 28, 31 (Tex. 2010); see also
Path to Riches, LLC on behalf of M.M.T. Diagnostics (2014), Ltd. v. CardioLync, Inc., 290 F. Supp.
3d 280, 288 (D. Del. 2018) (derivative plaintiff’s chosen forum is entitled to some deference in
forum non conveniens analysis); Holzman v. Guoqiang Xin, No. 12-cv-8405 (AJN), 2015 WL
5544357, at *7 (S.D.N.Y. Sept. 18, 2015) (same). This is especially true in a case where, as here,
Plaintiff has brought the action in the District where Forterra is headquartered, where the documents
and witnesses are located, and where the related federal securities class action is proceeding apace to
trial.

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524. Moreover, the plaintiff’s choice of forum clearly weighs more heavily in the forum non

conveniens context than it does in the transfer of venue context, where it is merely one factor to be

considered. See, e.g., Club Assistance Program, Inc. v. Zukerman, 598 F.Supp. 734, 736 (N.D. Ill.

1984).

         B.     The FSC at Issue Here Is Not Mandatory Because Delaware Courts
                Lack Personal Jurisdiction Over All Defendants

         FSCs that employ the “nonmandatory words the parties chose to express their agreement” in,

are “properly construed as a permissive consent-to-jurisdiction provision, and not a mandatory and

exclusive forum selection clause.” Blanco v. Banco Indus. de Venez., S.A., 997 F.2d 974, 979 (2d

Cir. 1993). Here, the FSC that Defendants authored and seek to enforce is non-mandatory because

by its own terms because it: (i) does not apply unless all defendants are subject to personal

jurisdiction in Delaware; (ii) expressly provides that derivative actions like this may be filed both in

state and federal court; and (iii) expressly provides that an “action the subject matter of which is

within the scope of this” FSC may be “filed in a court other than a state court located within the

State of Delaware.” See Ex. 1 to Defendants’ Motion (ECF No. 20 at 11). As such, where, as here,

Plaintiff filed this action in the District where Forterra is headquartered and Defendants themselves

have repeatedly argued in this District and elsewhere and elsewhere that venue is only proper in

this District over related claims arising out of the same or related course of conduct, the FSC is

non-mandatory. See Ex. E (App. at 171) herein (stipulated order transferring the federal securities

class action claims related to these claims to this District with Defendants expressly “agree[ing] that

[the §1404(a)] factors, as applied to these Related Cases, weigh in favor of transfer to the Northern

District of Texas – Dallas Division . . . for the convenience of the parties and witnesses and in the

interests of justice,” including “(1) the convenience of witnesses; (2) the convenience of the parties;

(3) the location of relevant documents and the relative ease of access to sources of proof; (4) the

locus of operative facts; (5) the availability of process to compel the attendance of unwilling
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witnesses; (6) the relative means of the parties; (7) the forum’s familiarity with the governing law;

(8) the weight accorded the plaintiff’s choice of forum; and (9) trial efficiency and the interests of

justice.”); and Ex. B (“Specially Appearing Defendant Forterra, Inc.’s Brief in Support of its Motion

to Dismiss” filed in Vuoncino v. Forterra, Inc., et al, D.N.J. No. 2:18-cv-02437-CCC-MF, wherein

Defendants argued in detail at App. 35-42 how “the §1404 factors weigh[ed] in favor of transfer”

to the Northern District of Texas “because a substantial part of the events or omissions giving rise

to the claim occurred in the Northern District of Texas” and how all of the private and public

§1404(a) factors demonstrated this District was a more convenient forum).7

        C.      The §1404(a) Factors Militate Against a Transfer Based On Forum
                Non Conveniens

        In the Vuoncino action, which involved essentially the same misconduct as this action,

Defendants have already conceded that venue is proper in the Northern District. See Ex. B (App. at

35-42) (“Venue in the Northern District of Texas is proper . . . because a substantial part of the

events or omissions giving rise to the claim occurred in the Northern District of Texas. Forterra’s

headquarters are there, Bradley resides there, Plaintiff attended meetings there, and Plaintiff received

multiple calls from Forterra’s headquarters related to the activities alleged, making the Northern

District of Texas a proper venue for this claim. . . . Furthermore, all defendants are subject to

personal jurisdiction there, as Forterra and Bradley reside there and Kerfin would likely be subject to

personal jurisdiction in Texas but, in any event, Kerfin waives any potential argument to personal

jurisdiction there.”). As such, this Court need only consider the public factors that the “Fifth Circuit

has adopted . . . for the determination of whether a Section 1404(a) venue transfer is for the

7
    Indeed, the Fifth Circuit Court of Appeals has held that when a defendant successfully obtained a
transfer to another district it claimed was “more convenient,” only to later claim that the transferee
district was “not the most appropriate place for a trial on the merits and, upon such contention,
[sought] to have the [claims] dismissed,” that party “may not, as it attempts to do here, ‘so trifle with
the judicial process.’ This is something which the courts will not tolerate.” Insurance Co. of N. Am.
v. Ozean/Stinnes-Linien, 367 F.2d 224, 226-227 (5th Cir. 1966).

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convenience of the parties and witnesses and is in the interest of justice.” Georgia Mobile Dental,

LLC v. Napper, No. CV 18-269-SDD-EWD, 2018 WL 6037527, at *9 (M.D. La. Nov. 16, 2018).8

Specifically, the “(a) administrative difficulties flowing from court congestion; (b) local interest in

having localized controversies decided at home; (c) interest in having the trial of a diversity case in a

forum that is at home with the law that must govern the action; (d) the avoidance of unnecessary

problems in conflict of laws, or in the application of foreign law; and (e) the unfairness of burdening

citizens in an unrelated forum with jury duty.” Blount, 106 F. Supp. 3d at 837. Notably, here,

Plaintiff – whose citizenship is diverse from that all Defendants – seeks not only a Texas, but a

federal forum, and is thus entitled to the procedural benefits of her selection.

        Moreover, Defendants have already persuasively demonstrated in their arguments made in

Vuoncino that all of the §1404(a) factors militate in favor of denying their forum non conveniens

motion filed in this case. See Ex. B (App. at 35-42). First, as Defendants argued, “[a] judgment

issued in Texas is likely to be more easily enforceable than one from [Delaware] because both

[almost all of the Defendants] and Forterra are located in Texas.” Id. (App. at 41) and ¶¶9-22

(demonstrating almost all Defendants reside in Texas). Likewise, as they argued in Vuoncino, here

too “[p]ractical considerations would make the trial easier, more expeditious, and inexpensive in

Texas, as it is the more convenient forum for the majority of important witnesses, and the parties

would be able to compel their attendance at trial.” See Ex. B (App. at 41). Likewise, “[t]he

administrative difficulty in the two fora, particularly related to court congestion, weighs in favor of”

this District where the median time from filing of a civil complaint to trial in the Northern District of


8
    Though Atlantic Marine counsels that where there is a “valid” FSC, “a district court may
consider arguments about public-interest factors only,” it further holds that “it is ‘conceivable in a
particular case’ that the district court ‘would refuse to transfer a case notwithstanding the
counterweight of a forum-selection clause.’” 571 U.S. at 64. This is such an “unusual case” because
with the relevant documents, witnesses and the related Fed. Sec. Action pending in this District, all
transferring this case to Delaware would achieve is to inconvenience the prosecution of these claims.

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Texas is 28 months (placing it 30th nationally), compared with 28.7 months in the District of

Delaware (placing it 35th nationally). Id. and Ex. C (National Judicial Caseload Profile as of

Sept. 30, 2018) (App. at 69 and 89). Further, the mere fact that Delaware law applies does not favor

forum non conviens in favor of a Delaware forum where, as here, “the claims asserted in the

Complaint only require the application of well-settled principles of Delaware law.” In re Bear

Stearns Cos., Inc. S’holder Litig., No. CIV.A. 3643-VCP, 2008 WL 959992, at *6 (Del. Ch. Apr. 9,

2008); MICH II Holdings LLC v. Schron, No. CIV.A. 6840-VCP, 2012 WL 2499507, at *11 (Del.

Ch. June 29, 2012) (because “this is not a case raising novel or important issues of Delaware law,”

“the New York court is capable of rendering prompt and complete justice.”). Indeed, the Fifth

Circuit has condoned the prosecution of shareholder derivative actions applying Delaware law in the

federal District Courts. See Maher v. Zapata Corp., 714 F.2d 436, 467 (5th Cir. 1983). Further still,

because the Fed. Sec. Action arises out the same accounting scheme and misconduct perpetrated by

Defendants at Forterra while under their stewardship, there is a significant risk of inconsistent factual

findings if essentially the same claims are litigated by two courts in two different jurisdictions.

Moreover, it is not clear that all Defendants are subject to personal jurisdiction in Delaware (and as

demonstrated in Ex. B, they are apt to seek dismissal on that basis (App. at 31-35)). Therefore,

because the relevant §1404(a) factors favor the Northern District of Texas’ retention of venue

Defendants’ forum non conveniens motion should be denied.

II.     THE COMPLAINT ADEQUATELY ALLEGES DEMAND FUTILITY

        A demand upon the board of directors is excused where the complaint raises a “reasonable

doubt” that a majority of the board could properly exercise its business judgment in considering a

demand for action. Rales v. Blasband, 634 A.2d 927, 933 (Del. 1993). The Court should not dissect

the Complaint into components nor rely on any one factor in the demand futility analysis, but

instead, must take into account the totality of the circumstances. Harris v. Carter, 582 A.2d 222,


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229 (Del. Ch. 1990); see also In re Oxford Health Plans, Inc., 192 F.R.D. 111, 118 (S.D.N.Y. 2000)

(finding demand futile upon considering the totality of the circumstances).

        Here, a pre-suit demand is futile because a majority of Forterra directors, on the date this suit

was filed, were employed by Forterra’s controlling shareholder, Lone Star, along with its affiliate

Hudson, which caused the Company to misstate its accounting and to operate without the internal

controls required to prevent the accounting misstatements. Indeed, Defendants themselves have

admitted in a filing with the SEC that “directors who . . . are employed by affiliates or related parties

of Lone Star” are per force not independent.9

        A.      A Majority of the Board Was Employed by and the Entire Board Was
                Hand-Selected by Controlling Shareholder Lone Star and its Affiliate
                Hudson

        Lone Star and its affiliate Hudson has controlled Forterra at all relevant times. ¶¶34-43. Due

to its 100% stock ownership before the IPO and 70% ownership afterwards, Defendants have

conceded to Lone Star’s control. ¶69(a). At the time the Complaint was filed, six of the ten

directors then seated on the Forterra Board were employed by Lone Star and/or Hudson, including

Defendants Volluz (who had also served as the managing director of Hudson since January 2015),

Corcoran (who had also served as a Senior Advisor – Global Operations for Hudson since January

2016), and Meyer (who has also served as a managing director of Hudson since February 2015, in

which capacity he has oversight responsibility for a number of Lone Star’s private equity

investments, including Forterra, and also assists with the due diligence and underwriting of potential

operating company investments ); and non-parties Cammerer (who has also served as a managing

director of Hudson since January 2016), LaValle (who has also served as a managing director of

Hudson since January 2018, had previously served as a director of Hudson from July 2015 through


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    At pp. 12-25 of their Motion, Defendants challenge some but not all of the Complaint’s demand
futility allegations detailed at ¶69. The remaining demand futility arguments are thus conceded.

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December 2017, and was then responsible for sourcing, executing and managing Hudson’s private

equity investments), and Lewis (who has also served as a Vice President of Hudson responsible for

executing and managing Hudson’s private equity investments since June 2015 and who previously

served as an associate of Hudson from January 2015 to June 2015). ¶¶9-22, 34-43 and 66. While

the other four directors were not employed directly by the controlling shareholders, they were hand-

picked by them to serve on the Board in October 2016, before the IPO, when Lone Star still owned

100% of Forterra’s stock, including Defendants Bradley (also Forterra’s CEO since September

2015), McDonnough, McPherson, and Sarrazin. Id.

       Defendants’ incorrectly argue that the Complaint lacks “particularized factual allegations that

the [controlling] stockholder has a disabling interest—i.e., would receive a material benefit or suffer

a material detriment not shared by other stockholders.” Mot. at 12. In fact, the Complaint alleges

that after the Company’s prior owner tried unsuccessfully to take it public, Lone Star purchased it,

reorganized it (sloughing off certain businesses and conglomerating certain other new business it

caused Forterra to acquire), saddled it with an insurmountable debt load, failed to effectively

integrate the accounting systems of the vast number of quickly acquired companies, caused it to

operate with defective internal controls and thus caused it to misstate its accounting. ¶¶34-43.

Likewise, in his action, Mr. Vuoncino expressly alleged that he “witnessed and heard first hand a

strong desire on Forterra senior management’s part to accelerate and inflate earnings” and describes

how he “observed a disturbing push to accelerate/recognize quarterly ‘revenues’, which would

inflate net earnings, including directions from Bradley and Kerfin (after Forterra’s October, 2016

Initial Public Offering . . .) to book everything possible at quarter ends.” See Vuoncino D.N.J. No.

18-cv-02437-CCC-MF, ECF. No. 1 at ¶¶17-18 (Ex. F). Similarly, as alleged in the Amended

Complaint filed in the Fed. Sec. Action, which also names Lone Star as a defendant, “Lone Star

acquired Forterra in April 2015 through a highly-leveraged buyout and then proceeded to cause the

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Company to complete at least six significant acquisitions for more than $1 billion,” “saddl[ing]

Forterra with approximately $1.2 billion of long-term debt—more than triple the amount it had

carried when Lone Star acquired it,” and “then, a mere 18 months after having acquired Forterra,

Lone Star sold off nearly 30% of its stake in the IPO for net proceeds of over $300 million.” See In

re Forterra Sec. Litig., N.D. Tex. No. 18-cv-01957-K, ECF. No. 104 at ¶2 (Ex. G). Though

Plaintiff was only required to allege a “reasonable doubt” that a majority of the Forterra Board (five

directors here) could properly exercise its business judgment in considering a demand for action, the

allegations in Plaintiff’s Complaint alone, buttressed by the allegations in the operative complaints in

Vuoncino and In re Forterra Sec. Litig., allege far more.

        Likewise, Defendants’ claim that Plaintiff’s Complaint fails to allege “particularized facts

establishing that the stockholder would receive some benefit or suffer some detriment that differs

from what was received by other stockholders” misses the mark. (Mot. at 20) (emphasis in original).

As Forterra’s sole shareholder at the time it caused Forterra to acquire all the disparate businesses, to

saddle them with an untenable debt load, to fail to integrate their disparate accounting systems and to

cause Forterra to operate without effective controls, resulting in it misstating its accounting, all in the

lead up to taking the Company public and thus giving Lone Star a liquid market into which to sell

Forterra stock is surely a benefit that no other stockholder obtained – as there were no other

stockholders before Forterra’s IPO. That Plaintiff’s “Relevant Period” does not commence until

March 2017, several months following the October 2016 IPO, is a distinction without meaning since

all of the accounting misstatements and false financial filings alleged in Plaintiff’s complaint were

published during the Relevant Period – despite that they covered earlier periods, including those

leading up to the IPO. As such, it is of no consequence that the Complaint alleges Lone Star’s

control and misconduct before the Relevant Period, because Lone Star’s activities caused Forterra to

misstate its accounting and operate without effective internal controls during the Relevant Period.

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Moreover, it is of no import that Lone Star is not named as a defendant in Plaintiff’s Complaint,

because the fact that it employed a majority of and hand-selected all members of the Forterra Board

is alleged – and because it is exposed to substantial liability in the Fed. Sec. Action.

       B.      A Majority of the Board Faces a Substantial Likelihood of Personal
               Liability

       Defendants further argue that Plaintiff has failed to adequately allege that a “majority of the

directors face potential liability based on the allegations in the Complaint and would be unwilling to

sue themselves.” Mot. at 14-20. However, this argument fails. None of the decisions Defendants

cite address a situation like this where the majority of the Defendants named in Plaintiff’s complaint

are also named defendants in a federal securities class action based upon the same or very similar

misconduct where they face a real likelihood of liability. Defendants in the Fed. Sec. Action include

Defendants Bradley, Brown, Browne, Volluz, Barner, Corcoran, Loughhlin, McDonnough,

McPherson, Meyer, Suss, and Wilbeck, or six of the ten directors seated when Plaintiff’s Complaint

was filed, along with controlling shareholder Lone Star and several of its related entities. Indeed,

Plaintiff pled that because “defendants Bradley, Barner, Brown, Browne, Volluz, Corcoran,

Loughlin, McDonnough, McPherson, Meyer, Sarrazin, Suss and Wilbeck [were] all named as

defendants in the securities fraud class action,” “[i]n order to properly prosecute this lawsuit, it

would be necessary for [the] directors to sue themselves and the other defendants [named in the Fed.

Sec. Action], requiring them to expose themselves and their comrades to millions of dollars in

potential civil liability and criminal or SEC sanctions,” something “they will not do.” ¶69(m). This

is intuitively known to be true because once a material misstatement has been demonstrated, §11 of

the 1933 Act embodies “Congress’s decision to establish a strict liability offense promoting ‘full and

fair disclosure’ of material information” in documents marketing stock offerings. Omnicare, Inc. v.

Laborers Dist. Council Constr. Indus. Pension Fund, 135 S. Ct. 1318, 1331 (2015); also Herman &

MacLean v. Huddleston, 459 U.S. 375, 382 (1983) (“Section 11 [of the 1993 Act] places a relatively
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minimal burden on a plaintiff,” as it requires no showing of fraudulent intent, reliance or loss

causation, and plaintiff need only show a material misstatement or omission in the Offering

Documents to make out his prima facie case).

       Defendants quibble about whether their breaches of fiduciary duty, corporate waste and

constructive fraud have been adequately alleged, claiming Plaintiff has failed to allege

“particularized facts on a director-by-director basis establishing that the directors face a substantial

likelihood of liability.” Mot. at 15 (emphasis in original). However, while Plaintiff does not allege

in this action that the registration statement used to conduct Forterra’s IPO contained false and

misleading statements such as the plaintiffs in the Fed. Sec. Action, she does allege the same or

similar false accounting that took place during fiscal 2016 and was reported during the Relevant

Period, and she alleges the same long-standing defects in Forterra’s reporting controls. As such,

each of the Defendants in the Fed. Sec. Action – including Lone Star, which controlled the entire

Forterra Board as seated at the time Plaintiff’s action was commenced – had every incentive to

dispute whether Forterra’s 2016 financial reports contained material misstatements, including the

alleged accounting errors and that Defendants were operating Forterra with defective reporting

controls.

       Under circumstances like these, courts routinely find that given that the misconduct alleged

in the derivative action is coterminous with the misconduct alleged in the class action securities

fraud case, defendants named in the class action face a substantial likelihood of liability for

breaching their fiduciary duties to the company, thus rendering a presuit demand futile. See, e.g., In

re Cendant Corp., Deriv. Action Litig., 96 F. Supp. d 399, 400 (D.N.J. 2000) (finding that director

defendants were interested because they were defendants in “other pending class action suits arising

out of the” misconduct underlying the shareholder complaint); In re Veeco Instruments, Inc. Sec.

Litig., 434 F. Supp. 2d 267, 275 (S.D.N.Y. 2006) (concluding that director defendant faced

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substantial likelihood of liability, in part, because the court had declined to dismiss the class action

securities fraud complaint against the director defendant). Where, as here, a majority of the Board

faces such liability, demand is excused.

       C.      Defendant Bradley Was Also Conflicted Due to His Employment at
               Forterra

       Defendants argue that “Plaintiff’s allegations as to Bradley are similarly conclusory, and her

allegations that he could not have impartially considered a demand fail for all of the reasons

previously discussed.” Mot. at 25. However, the Complaint alleges that “Forterra’s 2018 Annual

Proxy Statement also concedes that ‘directors who are members of [Forterra’s] management,’ such

as defendant Bradley, are not independent due to their executive positions with the Company and

their relationships with and dependence upon the other members of the Board for their livelihood.”

¶69(b). Not only was Defendant Bradley hand-selected by Lone Star both for his executive role and

for his directorship, because Defendant Bradley was wholly dependent upon Lone Star – a defendant

in the federal securities class action – for his livelihood, there is more than a reasonable doubt as to

his independence from the rest of the Board, all of whom also serve at Lone Star’s favor.

       A director lacks independence when their decision is not “based on the corporate merits of

the subject before the board . . . [but on] extraneous considerations or influences.” Rales, 634 A.2d

at 936. One such extraneous consideration or influence is a director’s “substantial financial stake in

maintaining his current offices.” Id. at 937; In re The Student Loan Corp. Derivative Litig., No.

C.A. 17799, 2002 WL 75479, at *3 (Del. Ch. Jan. 8, 2002) (recognizing a director lacked

independence because acting on the demand would cause them to “displease a majority stockholder

in a position to displace him from his lucrative CEO position”). Therefore, Defendant Bradley is not

independent because acting on a demand would have jeopardized his lucrative CEO position.




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       D.      Defendant McDonnough’s Personal Complicity Was Adequately
               Alleged

       Contrary to Defendants’ arguments, the Complaint adequately alleged that Defendant

McDonnough is disabled from considering a pre-suit demand. In particular, the Complaint alleges

that Defendant McDonnough was, until 2015 an audit partner at Ernst & Young LLP (“E&Y”) for

38 years, most recently serving as the managing partner of the firm’s Dallas office, which is and has

been for many years Forterra’s outside auditing firm, where he was responsible for leading all day-

to-day practice operations. ¶17. The Complaint further alleges that because “E&Y’s Dallas office . .

. served as Forterra’s outside audit firm prior to its IPO and throughout the Relevant Period, and

continues to serve as Forterra’s outside audit firm despite defendants’ repeated admissions of

material internal control defects, the serious intentional financial falsification and whistleblower

retaliation charges alleged by Vuoncino in the whistleblower retaliation action, and the fact that

Forterra has now been sued for issuing false and misleading financial statements throughout its

entire history as a publicly traded company in a securities class action seeking tens of millions of

dollars in damages, defendant McDonnough is not independent, as [he] could not discharge his

fiduciary duty to independently and disinterestedly investigate and prosecute the claims alleged

herein that potentially implicate his former partners upon whom he still relies to fund his

retirement.” ¶69(d). Therefore, for the same reasons Defendant Bradley would not have jeopardized

his livelihood, Defendant McDonnough is disabled from considering a pre-suit demand because it

could jeopardized his retirement.

       E.      A Majority of the Board Made Misstatements About Forterra’s
               Accounting Misstatements and Lack of Reporting Controls Despite
               Red Flags

       Defendants Bradley, Volluz, Corcoran, McDonnough, McPherson, Meyer and Sarrazin are

interested for purposes of a demand because they face a substantial likelihood of liability for

breaching their fiduciary duty of loyalty by making or permitting improper statements regarding the

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Company’s false financial reporting, accounting mistakes, and defective reporting controls, and by

failing to exercise appropriate oversight.

         First, these Defendants face a substantial likelihood of liability for causing or allowing the

Company to issue false statements that included accounting mistakes and to make false statements

about Forterra’s reporting controls. When directors are “deliberately misinforming shareholders

about the business of the corporation, either directly or by a public statement, there is a violation of

fiduciary duty.” Malone v. Brincat, 722 A.2d 5, 14 (Del. 1998). Importantly, “even where there is

no obligation to disclose certain information, if it is volunteered, the information must be stated

truthfully and candidly.” Marhart, Inc. v. CalMat Co., Civ.A. No. 11,820, 1992 WL 82365, at *3

(Del. Ch. Apr. 22, 1992). “Communications that depart from this expectation . . . violate the

fiduciary duties that protect shareholders. Such violations are sufficient to subject directors to

liability in a derivative claim.” In re InfoUSA, Inc. S’holders Litig., 953 A.2d 963, 990 (Del. Ch.

2007).

         Here, these Defendants misled the public about the strength of the Company’s financial

reports, the accuracy of its accounting (including that it complied with GAAP), and the strength of

its reporting controls.    They each signed the false and misleading 2016 Annual Report to

Shareholders and the 2017 Proxy Statement issued in connection with Forterra’s 2017 AGM. ¶¶50-

52. In reality, the Company had failed to effectively integrate the various accounting systems of the

many disparate companies Lone Star had caused it to acquire, the Company was not able to report

pursuant to GAAP, and it had major undisclosed defects in its reporting controls, and these issues

would continue to harm the Company. Id.

         Additionally, Defendants Bradley, Volluz, Corcoran, McDonnough, McPherson, Meyer and

Sarrazin are interested for purposes of a pre-suit demand because they face a substantial likelihood

of liability for breaching their fiduciary duty of loyalty by failing to exercise appropriate oversight

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over the Company in light of the defective accounting and reporting controls, despite red flags

indicating serious issues. A breach of the fiduciary duty of loyalty can be shown where either “(a)

the directors utterly failed to implement any reporting or information system or controls, or (b)

having implemented such a system of controls, consciously failed to monitor or oversee its

operations thus disabling themselves from being informed of risks or problems requiring their

attention.” Rich ex rel. Fuqi Int’l, Inc. v. Yu Kwai Chong, 66 A.3d 963, 981 (Del. Ch. 2013). The

failure to monitor prong can be demonstrated by “identify[ing] ‘red flags,’ obvious and problematic

occurrences, that support an inference that the [] directors knew that there were material weaknesses

in [their company’s] internal controls and failed to correct such weaknesses.” Id. at 983; see also In

re Abbott Labs. Derivative S’holders Litig., 325 F.3d 795 (7th Cir. 2003) (finding that specific

warnings made to the company about the challenged practices constituted such obvious red flags that

it must be assumed that all board members were aware of the practices).

       Here, Plaintiff alleges that there were a number of red flags indicating problems with

Forterra’s accounting and reporting controls that would have justified earlier disclosure of the true

state of affairs. For example, the Complaint alleges that:

              “Vuoncino, who previously worked at KPMG and Dow Jones and had ‘over twenty-
               five (25) years of experience in corporate finance,’ reported to defendant Kerfin at
               the time of his termination in retaliation for his whistleblowing activities,” and that
               “[a]ccording to Vuoncino, in connection with calculating Forterra’s 4Q16 and FY16
               financial results reported on March 29, 2017, defendants caused Forterra to overstate
               U.S. Pipe’s 4Q16 and FY16 reported profits by causing one Pipe and Precasting
               division to order product from another Pipe and Precasting division at the end of the
               quarter, paid for by an intradivision ‘rebate’ that was not properly accounted for, to
               build excess inventory ‘just to report additional profits in order to meet’ otherwise
               unattainable ‘projected and monthly quarterly’ sales goals.” ¶64;

              “[D]efendants had begun paying themselves cash bonuses on those falsified results
               ‘on a monthly basis with eighty percent (80%) of the bonus amount calculated on
               performance versus financial goals.’” Id.;

              “[P]rior to filing his whistleblower retaliation lawsuit, on June 6, 2017 [four months
               before the IPO], Vuoncino filed a complaint with the U.S. Department of Labor,
               Occupational Safety and Health Administration [“U.S.-DOLOSHA”], which Forterra
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                received notice of, alleging that he had ‘engaged in protected activity, of which
                Forterra had knowledge, he was terminated by [Forterra and defendants Bradley and
                Kerfin] as a result of his protected activity and it was a determinative factor in his
                firing.’” 69(g); and

               “Rather than investigating Vuoncino’s claims and taking action, or reporting them to
                the SEC and Forterra’s shareholder owners, the Board did nothing, prompting the
                filing of Vuoncino’s federal action,” thereby exposing Forterra “to tens of millions of
                dollars in the whistleblower retaliation action and in the securities class action.” Id.

         The failure to make a full and complete disclosure regarding these financial reporting

misstatements, accounting misstatements, and defective accounting and reporting controls that

resulted in a negative impact to the financials of the Company so large in magnitude that it would

take quarters to recover, demonstrates a lack of good faith. McCall v. Scott, 239 F.3d 808, 823 (6th

Cir. 2001) (recognizing that the “magnitude” of wrongdoing is a factor weighing on whether the

directors acted in bad faith), amended on denial of reh’g, 250 F.3d 997 (6th Cir. 2001). The eventual

disclosures were significant enough to drop the Company’s market capitalization significantly. 10

         At a minimum, Defendants McDonnough (Chair) and McPherson, members of the Board’s

Audit Committee during the Relevant Period during which the improper statements identified in the

Complaint were made, face a substantial likelihood of liability given their heightened duties as

members of that committee. ¶69(e). These duties included “represent[ing] the Board of Directors in

discharging its responsibilities relating to the Company’s accounting, financial reporting, financial

practices and system of internal controls,” and “review[ing] and discuss[ing] with Company’s

management the Company’s audited consolidated financial statements included in [Forterra’s] 2017

Form 10-K.” Id. Despite being charged with oversight of financial controls, which these

Defendants knew were adversely impacted by the lack of effective accounting and reporting



10
    That Forterra’s Certificate of Incorporation may have included an exculpation clause does not
relieve Defendants of liability for breaches of the duty of loyalty nor for acts or omissions that are
intentional, in bad faith or knowing violations of the law. Del. Code Ann. tit. 8, §102(b)(7); Abbott,
325 F.3d at 810-811. This is also an affirmative defense which must be pled and proved.

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controls, they failed to act or cure the Company’s inadequate disclosures. Thus, they face a

substantial likelihood of liability.

        Likewise, the Complaint alleges that Defendants Meyer (Chair) and McPherson, who were

“members of the Board’s Compensation Committee, which, despite being charged under the terms of

the committee’s charter with ‘reviewing and approving corporate goals and objectives relevant to the

compensation of [Forterra’s] executive officers in light of those goals and objectives, and setting

compensation for [those] officers based on those evaluations,’” mischaracterized Defendant Brown’s

termination – who had served as the Chief Financial Officer of Forterra through September 2017

when he suddenly “resigned” just after the Company’s former accounting misstatements and the full

extent of the defects in its internal controls were publicly disclosed – “as a resignation for good

reason pursuant to his Amended and Restated Employment Agreement [rather than a termination

‘for cause’,] ‘thereby facilitating his walking away with more than an estimated $1 million in

severance payments rather than being called upon to indemnify Forterra for the misconduct he

caused the Company to undertake, defendants Meyer and McPherson are directly complicit in and

potentially liable for the misconduct alleged herein and would not be disinterested in the outcome of

an investigation into these claims.” ¶¶53-61, 63, 69(f).

        Contrary to Defendants’ arguments, Plaintiff states a waste claim when “in any of the

possible sets of circumstances inferable from the facts alleged under the complaint, no reasonable

person could deem the received consideration adequate.” InfoUSA, 953 A.2d at 1002. For example,

plaintiffs in InfoUSA met this standard with “a series of related-party transactions and improper

benefits” to a director “from a board that was dominated and controlled by him,” which “[a]

reasonable person might well consider . . . a sweetheart deal.” Id. Here, while Defendant Brown

received financial benefits, he was acting as Defendant Bradley’s CFO and was doing the bidding of

controlling shareholder Lone Star when he caused Forterra to issue falsified financial statements, to

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make accounting mistakes and to operate with defective accounting and reporting controls – and by

the time he was fired, Vuoncino had already filed a whistleblower complaint with the U.S.-

DOLOSHA. Defendants Brown and Bradley, along with Lone Star, also knew at that point that they

were potentially liable for the misstatements in Forterra’s October 2016 IPO Registration Statement.

Despite being charged with preserving Forterra’s assets, Defendants failed to seek disgorgement

from Defendant Brown, and instead rewarded him, to preserve his silence and to protect their own

directorships. Thus, each Defendant faces a substantial likelihood of liability for corporate waste.

                                         CONCLUSION

       Accordingly, Defendants’ Motion should be denied. Alternatively, Plaintiff respectfully

requests leave to amend. See King v. Terwilliger, No. CIV.A. H-12-2182, 2013 WL 708495, at *7

(S.D. Tex. Feb. 26, 2013).

DATED: January 22, 2019                       ROBBINS GELLER RUDMAN
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                                CERTIFICATE OF SERVICE

       I, Mary K. Blasy, hereby certify that on January 22, 2019, I authorized a true and correct

copy of the foregoing document to be electronically filed with the Clerk of the Court using the

CM/ECF system, which will send notification of such public filing to all counsel registered to

receive such notice.




                                                             /s/ Mary K. Blasy
                                                            MARY K. BLASY
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